               Case 3:12-mj-02574-DEA              Document 74         Filed 01/22/13         Page 1 of 3 PageID: 190
                                   UNITED          STAms          DISTRICT           CouRT




                       for the                      District of                           New Jersey

               United States of America
                                                                             ORDER SETTING CONDITIONS
                              v.                                                    OF RELEASE
               JOSEPH A. GIORGIANNI
                                                                             Case Number: 12-2574 & 12-795 (MAS)
                        Defendant

IT IS ORDERED on this 22nd day of January, 2013, that the release of the defendant is subject to the following
conditions:
        (1) The defendant must not violate any federal, state or local law while on release.
        (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
                42 U.S.C. § 14135a.
          (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
              any change in address and: or telephone number.
          (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.
                                                            Release on Bond
Bail be fixed at    $______________________       and the defendant shall be released upon:

         ( ) Executing an unsecured appearance bond ( ) with co-signor(s)
         ( ) Executing a secured appearance bond ( ) with co-signor(s)
             and ( ) depositing in cash in the registry of the Court       of the bail fixed; and/or ( ) execute an
             agreement to forfeit designated property located at
             Local Criminal Rule 46. l(d)(3) waived/not waived by the Court.
         ( ) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail
             in lieu thereof

                                                 Additional Conditions of Release

Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the
defendant and the safety of other persons and the community, it is further ordered that the release of the defendant is
subject to the condition(s) listed below:

lT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
      ( ) Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law
             enforcement personnel, including but not limited to, any arrest, questioning or traffic stop.
     (     ) The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper
             with any witness, victim, or informant: not retaliate against any witness victim or informant in th’s case.
     (         The defendant shall be released into the third party custody of           fd
                who agrees (a to supervise tile defendant in accordance with all the conditions of release, (b,) to use even’ effort
                to assure tile appearance of the defendant at all scheduled court proceedings, and (c,) to iiori/i’ the court
                immediately in the event the defendant violates any conditions of release or disappears.


                 Custodian Signature:                                                 Date:
                                                                                                                              PAGE 1 OF 3


     ( )       The defendant’s travel is restricted to (    ) New Jersey ( ) Other
                                                                                      unless approved by Pretrial Services (PTS).
                                                                                                            _____
                                                                                            ______________________
                                                                                                        ______
                                                                                                                   _
    Case 3:12-mj-02574-DEA Document 74 Filed 01/22/13 Page 2 of 3 PageID: 191
( ) Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with
    substance abuse testing procedures/equipment.
( )    Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any
       home in which the defendant resides shall be removed by                   and verification provided to PTS.
()     Mental health testing/treatment as directed by PTS.
() Abstain from the use of alcohol.
() Maintain current residence or a residence approved by PTS.
( ) Maintain or actively seek employment and/or commence an education program.
() No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
( ) Have no contact with the following individuals:
( ) Defendant is to participate in one of the following home confinement program components and abide by
    all the requirements of the program which ( ) will or ( ) will not include electronic monitoring or other
       location verification system. You shall pay all or part of the cost of the program based upon your ability to
       pay as determined by the pretrial services office or supervising officer.
        ( ) (i) Curfew. You are restricted to your residence every day ( ) from                   to           or
                  ( )  as directed by the pretrial services office or supervising officer; or
        ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment;
                  education; religious services; medical, substance abuse, or mental health treatment; attorney
                  visits; court appearances; court-ordered obligations; or other activities as pre-approved by
                  the pretrial services office or supervising officer; or
        ( ) (iii) Home Incarceration. You are restricted to your residence at all times except for medical
                  needs or treatment, religious services, and court appearances or other activities pre-approved
                  by the pretrial services office or supervising officer.

( ) Defendant is subject to the following computer/internet restrictions which may include manual
         inspection and/or the installation of computer monitoring sofiware as deemed appropriate by
         Pretrial Services;
        ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                    -




                      connected devices.
        ( ) (ii) Computer No Internet Access: defendant is permitted use of computers or connected
                               -




                     devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
                      Servers, Instant Messaging, etc);
        ( )    (iii) Computer     With Internet Access: defendant is permitted use of computers or connected
                     devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers,
                     Instant Messaging, etc.) for purposes pre-approved by Pretrial Services at
                     [ ] home [ ] for employment purposes.
        ( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in
                     the home utilized by other residents shall be approved by Pretrial Services, password
                     protected by a third party custodian approved by Pretrial Services, and subject to inspection
                     for compliance by Pretrial Services.

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             Case 3:12-mj-02574-DEA           Document 74        Filed 01/22/13      Page 3 of 3 PageID: 192
                                        ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
                       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant
 for your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt
 of court and could result in imprisonment, a fine, or both.
            While on release, if you commit a federal felony offense the punishment is an additional prison term of not more
than ten years and for a federal misdemeanor offense the punishment is an additional prison term ofnot more than one year.
This sentence will be consecutive (i. e, in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investi2ation tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties
for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
            If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you arc
convicted of:
                (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
                    —  you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
                (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you
                                                                                                                          —




                     will be fined not more than $250,000 or imprisoned for not more than five years, or both;
                (3) any other felony— you will be fined not more than $250,000 or imprisoned not more than two years, or
                     both;
                (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or
                                    —




                     both.
                A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence
you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                            Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.


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                                          Directions to the United States Marshal
         ) The defendant is ORDERED released after processing.
  (      ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
          that the defendant has posted bond and/or complied with all other conditions for release. If still in custody, the
          defendant must be produced before the appropriate judge at the time and place specified.

 Date



                                                                         Printed name and title
 (REV.
                                                                                                                    PAGE 3 OF 3
